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                                         U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007




                                                     October 31, 2018

Via ECF
The Honorable Paul A. Crotty
United States District Judge
Southern District of New York
United State Courthouse
500 Pearl Street, Courtroom 14C
New York, New York 10007

       Re:     United States v. Joshua Adam Schulte, S2 17 Cr. 548 (PAC)

Dear Judge Crotty:

        The Government writes to request that the Court schedule an arraignment of the defendant
on superseding indictment S2 17 Cr. 548 (PAC) (the “Superseding Indictment”), which is attached
as Exhibit A. The new charges arise from the defendant’s flagrant disregard for the Court’s
protective order (the Protective Order”), entered on September 18, 2017, and his continued, brazen
disclosure of classified information while incarcerated at the Metropolitan Correctional Center (the
“MCC”). In particular, and as described in more detail below, the Superseding Indictment charges
the defendant with two additional charges: (i) Count Four charges the defendant with an additional
violation of 18 U.S.C. § 793(e), based on his unlawful transmission and attempted transmission of
classified national defense information from the MCC, and (ii) Count Eleven charges the defendant
with a violation of 18 U.S.C. § 401(3), based on his contempt of the Protective Order. In light of
the new charges, and for the additional reasons set forth in the Government’s ex parte, classified
submission (the “Classified Supplement”), which the Government is also submitting to the Court
today, the Government also requests a four-week extension of the November 12, 2018 deadline
for the Government to complete discovery and file a motion pursuant to the Classified Information
Procedures Act (“CIPA”). This additional time will allow the Government to, among other things,
produce the discovery that underlies the new charges against the defendant, some of which also
implicates classified information.

       By way of background, in September 2017, the Government initially charged the defendant
with receipt, possession, and transportation of child pornography (the “Child Pornography
Charges”). In connection with those charges, the Government produced a substantial volume of
discovery to the defendant. That discovery included, among other things, forensic images of
dozens of electronic devices seized from the defendant’s apartment, including the home desktop
computer upon which child pornography was found and the defendant’s cellphone (upon which
the passwords that unlocked the child pornography on the desktop computer were located);
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electronic communications between the defendant and others pertaining to his interest in child
pornography; the results of a search of the defendant’s email and social media accounts; summaries
of Federal Bureau of Investigation (the “FBI”) interviews of the defendant; responses to grand jury
subpoenas; and search warrant materials (the “Protected Search Warrant Materials”). Some of this
discovery—including the Protected Search Warrant Materials—was produced pursuant to the
Protective Order, and thus, could only be shared with those individuals involved in the preparation
of the defense. By March 2018, the Government had produced all of the discovery in its possession
that concerned the Child Pornography Charges.

        In or about May 2018, the Government learned that Schulte had distributed the Protected
Search Warrant Materials to his family members for purposes of dissemination to other third
parties, including members of the media. At the Government’s request, on or about May 21, 2018,
the Court held a hearing, at which the Court emphasized to Schulte that the Court would enforce
the terms of the Protective Order. The Government’s investigation further revealed that the
materials provided by Schulte to his family members included classified information.

        On June 18, 2018, the Government filed the first superseding Indictment in this case. The
first superseding Indictment added charges against the defendant based on, among other things,
the defendant’s unlawful theft and disclosure of classified information, his unauthorized access to
computer systems maintained by the Central Intelligence Agency (the “CIA”), and his
misrepresentations to the FBI. Immediately after the Government filed the superseding
Indictment, the Government began producing unclassified and classified discovery related to the
new charges.1 In light of the defendant’s detention at the MCC since December 14, 2017, the
Government and the FBI also arranged for the defendant to review classified discovery at a secure
work area controlled by the FBI (the “FBI Area”). The defendant has been able to regularly visit
the FBI Area to review the classified discovery. Furthermore, on or about October 1, 2018, the
Government understands that Schulte was placed in more restrictive detention conditions based on
the conduct described below. Despite those heightened restrictions, Schulte still has full access to
review his unclassified discovery. Schulte also remains able to visit the FBI Area upon request
and, indeed, visited the FBI Area during the week of October 22.

        In or about early October 2018, the Government learned that Schulte was using one or
more smuggled contraband cellphones to communicate clandestinely with third parties outside of
the MCC. The Government and the FBI immediately commenced an investigation into Schulte’s
conduct at the MCC. That investigation involved, among other things, the execution of six search
warrants and the issuance of dozens of grand jury subpoenas and pen register orders. Pursuant to
this legal process, in the weeks following the Government’s discovery of Schulte’s conduct at the
MCC, the FBI has searched, among other things, the housing unit at the MCC in which Schulte
was detained; multiple contraband cellphones (including at least one cellphone used by Schulte
that is protected with significant encryption); approximately 13 email and social media accounts
(including encrypted email accounts); and other electronic devices. These searched cellphones,
email and social media accounts, and electronic devices were all used by Schulte. As a result of
these searches and other investigative steps, the Government discovered that Schulte had, among

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    The Government’s classified discovery production is described in the Classified Supplement.
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other things, (i) transmitted classified information to third parties, including by using an encrypted
email account, and (ii) transmitted the Protected Search Warrant Materials to third parties in direct
contravention of the Court’s Protective Order and the Court’s statements at the May 21 conference.

        Based on the defendant’s conduct at the MCC, the Government sought and obtained the
Superseding Indictment earlier today. The investigation into the defendant’s conduct, however,
has generated a significant volume of discovery material—including, among other things, the
results of the searches of the MCC unit and various email and social media accounts, forensic
images of seized electronics, and photographs and videos of Schulte using contraband cellphones
in the MCC—that the Government has to prepare to produce to the defendant, including by
appropriately accounting for the classified information that is contained in the materials Schulte
disclosed and prepared for disclosure. The defendant’s unlawful disclosure of classified
information has also required the Government to prepare additional classified discovery and to
revise its CIPA filing, as described in more detail in the Classified Supplement. As a result, the
Government respectfully requests an additional four weeks to produce discovery and to file its
CIPA motion.

       The Government has communicated with defense counsel concerning this request and
understands that defense counsel needs to confer with the defendant before providing his position.

                                                        Respectfully submitted,
                                                        GEOFFREY S. BERMAN
                                                        United States Attorney


                                                  By:                /s/
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Cc: Defense Counsel (via ECF)

Enclosure
